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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF SOUTH CAROLINA
                           CHARLESTON DIVISION
                              CASE NUMBER: FY%++

 ADELAIDE DIXON, INDIVIDUALLY                  )
 AND ON BEHALF OF ALL OTHERS                   )
 SIMILARLY SITUATED                            )
                        Plaintiff,             )
                                               )         PLAINTIFF’S RESPONSE TO
 v.                                            )             LOCAL RULE 26.01
                                               )            INTERROGATORIES
 UNIVERSITY OF MIAMI                           )
               Defendants.                     )
                                               )
                                               )

         Pursuant to Local Rule 26.01, Plaintiff submits the following responses to
 Interrogatories:

      A. State the full name, address, and telephone number of all persons or legal entities
         who may have a subrogation interest in each claim and state the basis and extent of
         that interest.

 Answer

 None known.

      B. As to each claim, state whether it should be tried jury or nonjury and why.

 Answer

 Plaintiff’s claims for breach of contract an unjust enrichment present questions of fact which
 should be tried by a jury. The question of whether Plaintiff’s proposed class should be certified
 is a question of law to be decided by the Court.

      C. State whether the party submitting these responses is a publically-owned company
         and separately identify (1) any parent corporation and any publically held
         corporation owning ten percent (10%) or more of the party’s stock; (2) each
         publically-owned company of which it is a parent; and (3) each publically-owned
         company in which the party owns ten percent (10%) or more of the outstanding
         shares.
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 Answer

 Plaintiff is a private individual.

       D. State the basis for asserting the claim in the division in which it was filed (or the
          basis of any challenge to the appropriateness of the division). See Local Civ. Rule
          3.01 (D.S.C.).

 Answer

 Plaintiff alleges that the contract which is the subject of this action was entered in Charleston
 County, South Carolina. Moreover, the Defendant does business in Charleston County, South
 Carolina, including but not limited to procuring the contract, the breach of which is the subject of
 this action. Therefore, venue is proper in the Charleston Division pursuant to Local Rule
 3.01(A)(1).

       E. Is this action related in whole or in part to any other matter filed in this district,
          whether civil or criminal? If so, provide (1) a short caption and the full case number
          of the related action; (2) an explanation of how the matters are related; and (3) a
          statement of the status of the related action. Counsel should disclose any cases that
          may be related regardless of whether they are still pending. Whether cases are
          related such that they should be assigned to a single judge will be determined by the
          clerk of court based on a determination of whether the cases arise from the same or
          identical transactions, happenings, or events; involve the identical parties or
          property; or for any other reason would entail substantial duplication of labor if
          heard by different judges.

 Answer

 No.




                                      [Signatures on Following Page]
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                                    Respectfully Submitted,

                                    ANASTOPOULO LAW FIRM, LLC

                              BY __/s/ Eric M. Poulin         _
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                                    ATTORNEYS FOR PLAINTIFF

 Charleston, South Carolina
 April 8, 2020
